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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

        v.
                                                            Criminal Action No. TDC-16-0541
 ROBERT CRAIG COURTNEY,

        Defendant.



                                             ORDER

       On March 28, 2019, Defendant Robert Craig Courtney filed a Motion to Vacate Judgment

under 28 U.S.C. § 2255, in which he also moved to stay the case pending the United States

Supreme Court’s decision in United States v. Davis, No. 18-0431, and the Court of Appeals for

the Fourth Circuit’s decisions in United States v. Ali, No. 15-4433, and United States v. Mathis,

No. 16-4633. ECF No. 41. On the same day, Courtney filed a Motion for Appointment of Counsel

in the § 2255 proceeding. ECF No. 42. Accordingly, it is hereby ORDERED that:

   1. The Motion to Hold Case in Abeyance, ECF No. 41, is GRANTED.

   2. The Motion for Appointment of Counsel, ECF No. 42, is GRANTED.

   3. The Clerk is directed to enter a stay in this case.



Date: March 29, 2019                                                /s/
                                                     THEODORE D. CHUANG
                                                     United States District Judge
